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       In-N-Out Burgers
   8

   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11                                 SOUTHERN DIVISION
  12
       IN-N-OUT BURGERS, a California                 Case No. 8:17-cv-1474-JVS-DFM
  13   corporation,
                                                      PLAINTIFF AND
  14                        Plaintiff,                COUNTERDEFENDANT IN-N-
                                                      OUT BURGERS’ NOTICE OF
  15            vs.                                   MOTION AND MOTION FOR
                                                      PARTIAL SUMMARY
  16   SMASHBURGER IP HOLDER LLC, a                   JUDGMENT RE
       Delaware limited liability company; and        RESPONSIBILITY OF NAMED
  17   SMASHBURGER FRANCHISING LLC,                   DEFENDANTS FOR USE OF
       a Delaware limited liability company,          MARKS, SLOGANS, AND
  18                                                  ADVERTISING MATERIALS
                             Defendants.
  19

  20   SMASHBURGER IP HOLDER LLC,                     Date:      April 8, 2019
       and SMASHBURGER FRANCHISING                    Time:      1:30 p.m.
  21   LLC,                                           Courtroom: 10C
  22                         Counterclaimants,        Judge: Hon. James V. Selna
  23            vs.                                   Fact Discovery Cut-Off: Apr. 19, 2019
                                                      Pre-Trial Conference: Sept. 9, 2019
  24   IN-N-OUT BURGERS,                              Trial Date:           Sept. 24, 2019
  25                         Counterdefendant.
  26

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                                                           PLAINTIFF IN-N-OUT BURGERS’ NOTICE OF MOTION AND
                                                                     MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                                   Case No 8:17-cv-1474-JVS-DFM
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   1            TO ALL PARTIES, AND TO THEIR ATTORNEYS OF RECORD
   2   HEREIN:
   3            PLEASE TAKE NOTICE that on April 8, 2019 at 1:30 p.m., or as soon
   4   thereafter as the matter may be heard before the Honorable James V. Selna, United
   5   States District Judge, in Courtroom 10C of the Santa Ana Courthouse, located at 411
   6   West Fourth Street, Santa Ana, California 92701, Plaintiff and Counterdefendant In-
   7   N-Out Burgers (“In-N-Out”) will, and hereby does, move the Court pursuant to Fed.
   8   R. Civ. P. 56 for partial summary judgment as to the responsibility of Defendants
   9   and Counterclaimants Smashburger IP Holder LLC (“Smashburger IP”) and
  10   Smashburger Franchising LLC (“Smashburger Franchising”) for the use of the
  11   TRIPLE DOUBLE marks and the “Double the Beef” slogans and advertising
  12   materials in connection with the sale of Triple Double burgers at Smashburger
  13   company and franchise restaurants, on each of the claims for relief asserted in the
  14   Second Amended and Supplemental Complaint [Dkt. 117] filed by In-N-Out on
  15   September 21, 2018, as follows:
  16                       (1)   Smashburger IP is responsible for the use of the TRIPLE
  17            DOUBLE marks and the “Double the Beef” slogans and advertising
  18            materials in connection with the sale of Triple Double burgers at
  19            Smashburger company and franchise restaurants; and
  20                       (2)   Smashburger Franchising is responsible for the use of the
  21            TRIPLE DOUBLE marks and the “Double the Beef” slogans and
  22            advertising materials in connection with the sale of Triple Double
  23            burgers at Smashburger franchise restaurants.
  24            This motion is made on the grounds that: (1) Smashburger IP owns the
  25   TRIPLE DOUBLE marks and the “Double the Beef” slogans and advertising
  26   materials; (2) Smashburger IP was involved in creating the TRIPLE DOUBLE
  27   marks and the “Double the Beef” slogans and advertising materials; (3)
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                                                                 PLAINTIFF IN-N-OUT BURGERS’ NOTICE OF MOTION AND
                                                                           MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                                         Case No 8:17-cv-1474-JVS-DFM
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   1   Smashburger IP and Smashburger Franchising have each made use of the TRIPLE
   2   DOUBLE marks and the “Double the Beef” slogans and advertising materials; and
   3   (4) Smashburger IP has directly or indirectly authorized use of the TRIPLE
   4   DOUBLE marks and the “Double the Beef” slogans and advertising materials by
   5   Smashburger company and franchise restaurants, and Smashburger Franchising has
   6   directly authorized and controlled the use of such marks, slogans, and advertising
   7   materials by Smashburger franchise restaurants.
   8            This motion is based on this Notice of Motion, the Memorandum of Points
   9   and Authorities attached hereto, the Declaration of Jeffrey D. Wexler filed
  10   concurrently herewith, the Statement of Uncontroverted Facts and Conclusions of
  11   Law filed concurrently herewith, the [Proposed] Order attached hereto, and all other
  12   records and filings in this action.
  13            Pursuant to Local Rule 7-3, this motion is made following the conference of
  14   counsel between counsel for In-N-Out and counsel for Smashburger that
  15   commenced on February 22, 2019 and continued through February 25, 2019.
  16

  17   Dated: March 4, 2019
  18                                         CAROLYN S. TOTO
                                             JEFFREY D. WEXLER
  19                                         SARKIS A. KHACHATRYAN
                                             PILLSBURY WINTHROP SHAW PITTMAN LLP
  20

  21                                         By:      /s/ Carolyn S. Toto
  22
                                                      Carolyn S. Toto
                                             Attorneys for Plaintiff and Counterdefendant
  23                                         In-N-Out Burgers
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                                                             PLAINTIFF IN-N-OUT BURGERS’ NOTICE OF MOTION AND
                                                                       MOTION FOR PARTIAL SUMMARY JUDGMENT
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